                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR23-4014-LTS
 vs.                                           ORDER ACCEPTING MAGISTRATE
                                               JUDGE’S RULE 11(c)(1)(C) REPORT
                                                   AND RECOMMENDATION
 TERRANCE WAYNE BUESCHER,                         REGARDING DEFENDANT’S
                Defendant.                              GUILTY PLEA



                                   I. BACKGROUND
        On February 16, 2023, a three-count indictment was filed against defendant. On
March 15, 2024, defendant appeared before the Honorable Kelly K.E. Mahoney, United
States Magistrate Judge, and entered a plea of guilty to the lesser included offense of
Count 1 of the indictment. On March 15, 2024, Judge Mahoney filed a Rule 11(c)(1)(C)
Report and Recommendation (R&R) in which she recommended that defendant’s guilty
plea be accepted. Doc. 86. No objections to the R&R were filed. I therefore undertake
the necessary review of Judge Mahoney’s recommendation to accept defendant’s plea in
this case.


                             II. APPLICABLE STANDARDS
        A district judge must review a magistrate judge’s R&R in a criminal case under
the following standards:
        Within fourteen days after being served with a copy, any party may serve
        and file written objections to such proposed findings and recommendations
        as provided by rules of court. A judge of the court shall make a de novo
        determination of those portions of the report or specified proposed findings
        or recommendations to which objection is made. A judge of the court may
        accept, reject, or modify, in whole or in part, the findings or



       Case 5:23-cr-04014-LTS-KEM      Document 88      Filed 04/01/24    Page 1 of 3
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                   III. DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has
been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R
without modification and accept defendant’s plea of guilty in this case as to the lesser
included offense of Count 1 of the indictment.




    Case 5:23-cr-04014-LTS-KEM         Document 88       Filed 04/01/24    Page 2 of 3
 IT IS SO ORDERED this 1st day of April, 2024.




                               __________________________
                               Leonard T. Strand
                               United States District Judge




Case 5:23-cr-04014-LTS-KEM   Document 88   Filed 04/01/24   Page 3 of 3
